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               UNITED STATES ATTORNEY’S OFFICE
                   DISTRICT OF NEW MEXICO
                  ALBUQUERQUE, NEW MEXICO

                             DEA Encounter with
                         Dulce Isabel Ramos Burciaga




Participants:

Dulce Isabel Ramos Burciaga               DIR
DEA Special Agent Jarrell Perry           JP
DEA Special Agent Larry Pantoja           LP


Key:

Unintelligible                            UI
Inaudible                                 IA
Phonetic                                  ph



Conversation transcribed as spoken



Transcribed by: L.S. NIV USANM
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 1   -Background noises-

 2   -Meter.21-

 3   JP:    Hello, ma’am, how ya doin’ today?

 4   DIR:   Ah…

 5   JP:    I’m a police officer…

 6   DIR:   Ah-hah.

 7   JP:    …and we check the station here for security. May I speak to you for a moment?

 8   DIR:   Uh, yeah.

 9   JP:    Do you speak English okay?

10   DIR:   Yeah.

11   JP:    Okay. May I speak to you for a moment?

12   DIR:   Yeah, sure.

13   JP:    Are you travelin’ on the bus tonight?

14   DIR:   Yes.

15   JP:    Where you travelin’ to, ma’am?

16   DIR:   Where I’m going?

17   JP:    Yeah.

18   DIR:   To Denver.

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 1   JP:    Denver? Do you have your ticket with you?

 2   DIR:   Yeah, sure.

 3   JP:    May I see it, please? You do speak English okay, right?

 4   DIR:   Yeah.

 5   JP:    I’m just makin’ sure.

 6   DIR:   (Chuckles)

 7   JP:    Where you comin’ from, ma’am?

 8   DIR:   From Phoenix.

 9   JP:    Phoenix? You live in Phoenix or Denver?

10   DIR:   No, Phoenix.

11   JP:    Phoenix?

12   DIR:   Yeah.

13   JP:    Dul, is it Dulce?

14   DIR:   Mh-hm.

15   JP:    Ramos?

16   DIR:   Yeah.

17   JP:    Okay. Here’s your ticket back. Do you have ID with you Miss uh, Ramos?

18   DIR:   Yeah, but what happen (UI)?


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 1   JP:    It’s just for security here at the station cuz Amtrak, ur, Greyhound doesn’t really have
 2          any security so we come down here and speak with passengers for security reasons.

 3   DIR:   Okay.

 4   JP:    Okay?

 5   -Noises-

 6   JP:    How long you gonna be in Denver for?

 7   DIR:   Oh, it’s my friends that are there.

 8   JP:    I’m sorry?

 9   DIR:   My friends are…

10   JP:    Oh.

11   DIR:   …over there.

12   JP:    Oh! How long you gonna be there for?

13   DIR:   Uh, like until the weekend.

14   JP:    Oh, okay. You comin’ back on the bus too?

15   DIR:   Yeah.

16   JP:    Good. Dulce Isabel Ramos Burciaga.

17   DIR:   Yes.

18   JP:    So you’re from Juarez originally?

19   DIR:   Ah-hah.
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 1   JP:    Ah, okay. So you moved to Phoenix?

 2   DIR:   Yeah.

 3   JP:    1/18/88. Yeah, we just check the station here. It’s just for security, speaking to all the
 4          passengers.

 5   DIR:   All right.

 6   JP:    Yeah.

 7   DIR:   It’s like, vi, vi, violence here or something?

 8   JP:    Well, no, it’s just that Greyhound uh…really doesn’t have any security when you board.
 9          Did you board in Phoenix?

10   DIR:   Yeah.

11   JP:    Okay. Uh, there’s not really any security on the busses so basically you can carry
12          whatever you want on the bus. Weapons, illegal narcotics, anything illegal. Weapons,
13          hopefully no explosives but you can…anything illegal.

14   DIR:   Mh-hm.

15   JP:    You know, there’s no security, so there’s no, no checks. So sometimes we got a problem
16          with people carryin’ uh…

17   DIR:   Oh, no.

18   JP:    …things on the busses…

19   DIR:   I never do…

20   JP:    …they shouldn’t.


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 1   DIR:   …nothing like that, but okay.

 2   JP:    Yeah. Have you travelled on the bus before?

 3   DIR:   Yeah, sure.

 4   JP:    Yeah?

 5   DIR:   Lot of times.

 6   JP:    To Denver? Have you been to Denver before?

 7   DIR:   Yeah.

 8   JP:    How long ago?

 9   DIR:   Like in April.

10   JP:    Ah, okay.

11   DIR:   I think.

12   JP:    Yeah?

13   DIR:   Yeah.

14   JP:    Okay. So today, what is today, Friday?

15   DIR:   Yeah.

16   JP:    You comin’ back Sunday you said?

17   DIR:   Sunday night.

18   JP:    Sunday night?


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 1   DIR:   Yeah.

 2   JP:    Okay. Do you have any luggage with you Miss Ramos?

 3   DIR:   My… How can I say that?

 4   JP:    Bag?

 5   DIR:   Yeah.

 6   JP:    Where’s it located?

 7   DIR:   Over there. Why?

 8   JP:    Can you show me where your bag’s located?

 9   DIR:   Yeah, sure.

10   JP:    Okay.

11   DIR:   Okay.

12   -Pause in the conversation-

13   JP:    Right here?

14   DIR:   (UI)

15   JP:    No, no weapons or anything illegal inside?

16   DIR:   No.

17   JP:    Okay. Would you consent for a search of your bag for contraband, ma’am?

18   DIR:   Yeah, sure.


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 1   JP:    Okay. Be okay if I just set it up here?

 2   DIR:   Mh-hm.

 3   JP:    Okay. Are you stayin’ with your friends in Denver?

 4   DIR:   Yeah. Good. It’s everything.

 5   LP:    What’s your name?

 6   DIR:   Dulce.

 7   JP:    This is my partner.

 8   DIR:   Hi.

 9   LP:    Hi, how ya doin’?

10   DIR:   Is everything wrong?

11   -Noises-

12   LP:    (IA) you travelin’?

13   DIR:   (IA)

14   LP:    Where you travelin’?

15   DIR:   Where?

16   LP:    To where?

17   DIR:   To Denver.

18   LP:    Denver. You from Denver?


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 1   DIR:   No.

 2   LP:    Who you visiting?

 3   DIR:   My friends.

 4   -Zipper-

 5   LP:    Have you been there before?

 6   DIR:   Uh, one time, in April.

 7   LP:    (IA)

 8   DIR:   Pardon me?

 9   LP:    (IA)

10   DIR:   Yeah, I like it.

11   LP:    Yeah, I like the mountains, that’s what I like.

12   DIR:   You like what?

13   LP:    The mountains.

14   DIR:   Oh, I (IA)

15   LP:    It’s…it’s greener over there.

16   JP:    (UI) back over there for you?

17   DIR:   Yeah, sure.

18   JP:    Yeah. Do you have any other luggage with you other than this bag?


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 1   DIR:   No, that’s it.

 2   JP:    Okay. And how ‘bout this?

 3   DIR:   Everything is good?

 4   JP:    Yeah. How ‘bout this bag over here? Is this your bag on your back here?

 5   DIR:   Yeah, that’s uh, the (UI) I have.

 6   JP:    Okay. Will you give me permission to search that too?

 7   DIR:   Why?

 8   JP:    Just to make sure you don’t have anything illegal, ma’am.

 9   DIR:   I don’t, nothing (chuckles).

10   JP:    Okay.

11   DIR:   What happen? I’m…nervous right now.

12   JP:    Oh, there’s no reason to be nervous. As I explained to you over there, it’s just for
13          security at the bus station. Is that a purse or a backpack?

14   DIR:   My purse.

15   JP:    Okay. Okay. Would you give me permission to search it or no?

16   DIR:   But why?

17   JP:    Just to make sure you don’t have anything illegal inside, ma’am. Let me ask you this,
18          since you’re not answering the question, can you just open up, show me the contents
19          then…without me searchin’ it? That okay with you?


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 1   DIR:   Yeah, of course.

 2   JP:    Okay.

 3   -Noises-

 4   -Pause in the conversation-

 5   JP:    You don’t have to (UI) those little compartments, that’s fine.

 6   DIR:   That’s fine?

 7   JP:    Can you just take your stuff outta there so I can see in the bottom?

 8   DIR:   Yeah, sure.

 9   -Pause in the conversation-

10   DIR:   My…

11   JP:    Can, no, but can you take this out so I can see what you have in the bottom? I can’t see
12          what you have in the bottom of it.

13   DIR:   Yes.

14   JP:    Okay. Go ahead and stand up for me, ma’am. Go ahead and set your purse down there.

15   DIR:   Okay. What happen?

16   JP:    Go ahead, go ahead and stand up, put your hands behind your back, okay?

17   DIR:   Why?

18   JP:    Just relax, okay? Put your hands behind your back.

19   DIR:   What happen?
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 1   JP:    Put your hands behind your back.

 2   DIR:   Is everything…

 3   LP:    We’ll explain everything is just (UI).

 4   -Sound of handcuffs-

 5   JP:    This is my partner here, he’s gonna take you, okay?

 6   DIR:   Why?

 7   JP:    Just go with him.

 8   LP:    (IA)

 9   JP:    Just relax, okay?

10   DIR:   And my…things?

11   JP:    I got your stuff.

12   -End of recording-




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